John A. H. W. R. Armstead was indicted in the Circuit court of Henrico and the city of Richmond for larceny, in stealing a horse and buggy, the property of Thomas Duke. On the trial, after the Commonwealth had concluded its evidence tending to prove the horse and buggy in question had been hired by the prisoner of Thomas Duke on the 3d of March 1849, in Richmond, and afterwards disposed of by him at Powhatan courthouse, on the 5th of March; and also other evidence tending to shew the felonious intent of the prisoner; and after the attorney for the Commonwealth had closed his opening argument, and one of the prisoner's counsel had made his argument for the defence, the attorney for the Commonwealth moved the Court to allow him to recall a witness, Thomas Duke, who had been before examined, and to ask him a question not before put; the attorney stating that he did not have the record of the examination in the Hustings court, and therefore was not informed of what had been deposed to by the witnesses in that Court. The prisoner's *Page 600 
counsel objected to the motion, but the Court allowed the witness to be recalled, and asked, "If the prisoner on Saturday evening, the 3d March 1849, when he hired the horse and buggy in question, gave gave him his name?" The answer to which was, "He said his name was J. Scott." To this question and answer the prisoner's counsel objected as irregular and inadmissible, and excepted to the opinion of the Court admitting them.
The jury found the prisoner guilty; and fixed the term of his imprisonment in the penitentiary at five years; and the Court sentenced him accordingly. Whereupon he applied to this Court for a writ of error.
The writ of error is denied.